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                       Supplemental Civil Cover Sheet for Cases Removed
                                      From State Court


This form must be attached to the Civil Cover Sheet at the time the case is filed in the U.S. District
                  Clerk’s Office. Additional sheets may be used as necessary.


    1. State Court Information:

        Please identify the court from which the case is being removed and specify the number assigned
        to the case in that court.

                                 Court                                       Case Number
         Dallas County 101st Judicial District Court      DC-19-05466


    2. Style of the Case:

        Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s), Crossclaimant(s)
        and Third Party Claimant(s) still remaining in the case and indicate their party type. Also, please
        list the attorney(s) of record for each party named and include their bar number, firm name,
        correct mailing address, and phone number (including area code).

                       Party and Party Type                                    Attorney(s)
         Monterey Resources, LLC                          Julie A. Pettit, Michael K. Hurst, David B. Urteago
         405 Arapahoe , LLC                               Christopher B. Trowbridge, Kristopher D. Hill
         Arena Investors, LP                              Christopher B. Trowbridge, Kristopher D. Hill




    3. Jury Demand:

        Was a Jury Demand made in State Court?                Yes                   ✔   No
                 If “Yes,” by which party and on what date?

                 ___________________________________                  ______________________
                 Party                                                Date
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    4. Answer:

        Was an Answer made in State Court?           Yes                    ✔   No
                 If “Yes,” by which party and on what date?

                 ___________________________________                   ______________________
                 Party                                                 Date


    5. Unserved Parties:

        The following parties have not been served at the time this case was removed:

                                 Party                               Reason(s) for No Service




    6. Nonsuited, Dismissed or Terminated Parties:

        Please indicate any changes from the style on the State Court papers and the reason for that
        change:

                                 Party                                          Reason




    7. Claims of the Parties:

        The filing party submits the following summary of the remaining claims of each party in this
        litigation:

                                 Party                                          Claim(s)
         Plaintiff                                    The Plaintiff seeks damages related to tortious interference of
                                                      contract and declaratory relief.
